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                                                                        of 23
                                                                                           May 11, 2023
                                                                                        CLERK, U.S. DISTRICT COURT
                                                                                      EASTERN DISTRICT OF CALIFORNIA

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 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:20-CR-238-JLT-SKO
12                                  Plaintiff                               UNDER SEAL
13                          V.                           VIOLATIONS: 18 U.S.C. § 1962(d)-Conspiracy to
                                                         Participate in a Racketeering Enterprise;
14   KENNETH BASH (aka "Kenny" aka "Bash"),              18 U.S.C. § 1959(a)(l)- Murder in Aid of
     KENNETH JOHNSON (aka "K" aka                        Racketeering (4 counts); 18 U.S.C. § 1959(a)(5)-
15   "Kenwood"),                                         Conspiracy to Commit Murder in Aid of
     FRANCIS CLEMENT aka "Frank"                         Racketeering; 21 U.S.C. §§ 846, 841(a)(l)-
16                                                       Conspiracy to Distribute and to Possess with Intent to
                                                         Distribute Methamphetamine and Heroin;
17   DEREK SMITH (aka "Pup"),                            21 U.S.C. § 841(a)(l)-Possession with Intent to
     BRANDON BANNICK (aka "Barn Barn"                    Distribute Methamphetamine (3 counts); 21 U.S.C. §
18   aka "Barn"),                                        84l(a)(l)-Possession with Intent to Distribute
     JUSTIN GRAY (aka "Sidetrack"),                      Heroin; 18 U.S.C. § 924(c)- sing or Carrying a
19   JAMES FIELD (aka "Suspect"),                        Firearm During and in Relation to a Drug Trafficking
     EVAN PERKINS (aka "Soldier"), and                   Offense; 18 U.S.C. § 922(g)(l)-Felon in Possession
20   SAMANTHA BOOTH,                                     of Firearm; 21 U.S.C. § 841(a)(l)-Distribution of
                             Defendants.                 Methamphetamine; 21 U.S.C. § 853(a), 18 U.S.C. §§
21                                                       1963(a)(l), 1963(a)(2), 1963(a)(3), 18 U.S.C. §
                                                         924(d)(l), and 28 U.S.C. § 2461(c)- Criminal
22                                                       Forfeiture

23

24                        _S__ECOND SUPERSEDING INDICTMENT

25   GENERAL ALLEGATIONS

26   At all times relevant to this Second Superseding Indictment:
27                               The Racketeering Enterprise: The Aryan Brotherhood
28


      SECOND SUPERSEDING INDICTMENT
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 1           1.     The Aryan Brotherhood (the "AB") is a criminal organization whose members and

 2   associates engaged in drug trafficking, theft, and acts involving murder, extortion, burglary, robbery,

 3   and assault.

 4          2.      The AB, including its leaders, members, and associates, constitutes an "enterprise," as

 5   defined in Title 18, United States Code, Sections 1961 (4) and I 959(b )(2) ("the enterprise"), that is, a

 6   group of individuals associated in fact that engages in, and the activities of which affect, interstate and

 7   foreign commerce. The enterprise constitutes an ongoing organization whose members function as a

 8   continuing unit for a common purpose of achieving the objectives of the enterprise.

 9          3.      The defendants, Kenneth JOHNSON, aka "K" aka "Kenwood", Francis CLEMENT, aka

10   "Frank",                                                              Evan PERKJNS, aka "Soldier",

11   Kenneth BASH, aka "Kenny" aka "Bash", Brandon BANNICK, aka "Barn" aka "Barn Barn", James

12   FIELD, aka "Suspect", and Derek SMITH, aka "Pup" knowingly agreed to associate with, and were

13   each in fact a member or an associate of, the AB.

14                                                        Formation

15          4.      The Aryan Brotherhood is a white, race-based gang that was formed in the California

16   prison system in about 1964 by white inmates who wanted to gain power and authority in prison. Some

17   sources indicate the gang officially formed in 1968 in San Quentin State Prison.

18                                                       Membership

19          5.      AB members are recruited from the prison population. For new members, the AB has a

20   policy of 'blood in, blood out': potential members must commit a murder to gain full membership, and

21   can only leave when they die. However, exceptions have been made for new recruits who have shown a

22   willingness to kill. Recently, there has also been precedent set for prospective members who have a

23   greater earning potential or existing sum of money to contribute to the enterprise, to be "made" without

24   committing a murder.

25          6.      To be considered for AB membership, an inmate must be sponsored by two members, a

26   primary and a secondary sponsor. Generally, the inmate must also serve a probationary term, when his

27   conduct is observed by Aryan Brotherhood members. If his conduct is satisfactory, the inmate is

28   admitted to the Aryan Brotherhood. Once accepted, an Aryan Brotherhood member is required to


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 1 commit any criminal act that the enterprise asks of him. An AB member pledges his life to the

 2   enterprise. All AB members are men.

 3                                                  Command Structure

 4           7.     The AB is governed by a three-man commission with authority over the entire enterprise.

 5   The primary purpose of the commission is to resolve disputes among AB members and, when necessary,

 6   to approve the murder or assault of an Aryan Brotherhood member. The murder or assault of an Aryan

 7   Brotherhood member in California may be executed only if the commission authorizes it. Murder of a

 8   nonmember does not require commission approval. Certain senior members of the organization have

 9   more authority than others.

                                                      Codes of Conduct

11           8.     The AB does not have a formal, written code of conduct. Instead, there are unwritten

12   rules of conduct that govern the behavior of its members. Most recently, three primary rules govern all

13   the behavior of AB members. They are:

14                  1. Do not cooperate with law enforcement.

15                  2. Keep your word.

16                  3. Never be a coward.

17           9.     Aside from these rules, AB members are required, when ordered, to kill without

18   hesitation.

19           10.    Members who do not fulfill their obligations to the AB are subject to murder. AB

20   members are also prohibited from engaging in other conduct, such as being convicted of child

21   molestation, engaging in homosexual behavior, providing information to law enforcement and accruing

22   a drug debt to an inmate of another race while in prison.

23           11.    In addition to members, the enterprise includes associates, who are people closely

24   affiliated with the AB. Associates are required to follow the orders of Aryan Brotherhood members.

25   Associates who do not fulfill their obligations to the enterprise are subject to murder.

26           12.    The AB enforces its rules of conduct and promotes discipline among the enterprise by

27   acts involving murder, extortion, and threatening those who either violate the rules or pose a threat to the

28   enterprise. The AB also uses murder, the threat of murder, and assault to preserve, protect, and expand


      SECOND SUPERSEDING INDICTMENT                       3
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 1 its position of power within the California prison system. Specifically, AB members believe that a

 2   prison stabbing committed by an AB member should be executed in a bloody and cruel manner so that it

 3   leaves a lasting impression on other inmates. This AB belief stems from the reality that white inmates

 4   are a minority in every California prison. Therefore, AB-ordered prison attacks, which tend to stand out

 5   as particularly gruesome, deter rival inmates from confronting the enterprise's members and associates.

 6   In other words, the AB's extreme violence has a purpose: It warns other would-be attackers that they

 7   risk severe retaliation.

 8           13.     Inmates and others who do not follow the orders of the AB are subject to retaliation,

 9   including physical assault or murder, as is anyone who uses violence against an AB member. Inmates

10   who cooperate with law enforcement authorities are "put in the hat" - that is, marked for death.

11                                                   Purposes of the Enterprise

12           14.     The purposes of the AB include, but are not limited to, the following:

13                   a.         Controlling illegal activities - such as drug trafficking, gambling, and extortion -

14           within the California prison system for the purpose of generating money for AB members.

15                   b.         Enriching the leaders, members, and associates of the enterprise through, among

16           other things, illegal trafficking of controlled substances.

17                   c.         Preserving, protecting, and expanding the power, territory, reputation, and profits

18           of the AB through intimidation, violence, threats, assault, obstruction of justice, robbery,

19           extortion, and murder.

20                   d.         Using threats and violence to keep victims in fear of the AB.

21                                              Methods and Means used by the AB

22           15.     The means and methods by which AB leaders, members, and associates conduct and

23   participate in the conduct of the affairs of the enterprise include the following:

24                   a.         The leaders and members of the AB direct, sanction, approve, and permit other

25           members and associates to carry out criminal acts in furtherance of the enterprise.

26                   b.         To generate income, AB members and associates, under the protection of the

27           enterprise, engage in illegal activities, including drug trafficking, theft, robbery, and extortion.

28


      SECOND SUPERSEDING INDICTMENT
                                                              4
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 1                  C.      AB members and associates use gang-related terminology, symbols, phrases, and

 2          gestures to demonstrate affiliation with the gang.

 3                  d.      To perpetuate the enterprise and to maintain and extend its power, AB members

 4          and associates commit and conspire to commit acts of murder, intimidation, and assault against

 5          individuals who pose a threat to the enterprise or who jeopardize its operations. These targets

 6          include members of rival organizations, AB members and associates, and witnesses to the

 7          enterprise's illegal activities.

 8                                                        Symbols

 9          16.     AB members use various symbols to signal their participation in the enterprise. The

10   symbols can appear in tattoos, drawings, and writings. The shamrock is the most prominent symbol

11   used to signify membership in the AB. If an incarcerated inmate who is not a member of the enterprise

12   has a shamrock tattoo, members of the AB will require that inmate to remove or cover up the tattoo.

13   Additional symbols demonstrating membership in the AB include Nazi symbols, the letters "AB," the

14   numbers "I" and "II" (representing the first two letters of the alphabet), the numbers "666," the number

15   "88" (representing the phrase "Heil Hitler" because "H" is the eighth letter in the alphabet), and the

16   number "14" (referring to a 14-word mission statement for white supremacists).

17   COUNT ONE: 18 U.S.C. § 1962(d) - Conspiracy to Participate in a Racketeering Enterprise
18                  The Grand Jury charges:
19                               KENNETH JOHNSON (aka "K" aka "Kenwood"),
                                     FRANCIS CLEMENT (aka "Frank"),
20

21
                               BRANDON BANNICK (aka "Barn" aka "Barn Barn"),
22                                   EVAN PERKINS (aka "Soldier"),
                                KENNETH BASH (aka "Kenny" aka "Bash"), and
23                                     DEREK SMITH (aka "Pup"),
24
     defendants herein, as follows:
25
            17.     Paragraphs 1 through 16 are incorporated here by reference.
26
            18.     Beginning at a time unknown, but no later than in or around 2015, and continuing to at
27
     least on or about March 1, 2023, in the State and Eastern District of California and elsewhere, the
28


      SECOND SUPERSEDING INDICTMENT                       5
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 1 defendants, Kenneth JOHNSON, aka "K" aka "KENWOOD", Francis CLEMENT, aka "Frank",

 2                                                        Kenneth BASH, aka "Kenny" aka "Bash", Brandon

 3   BANNICK, aka "Barn" aka "Barn Barn", Evan PERKINS, aka "Soldier", James FIELD, aka "Suspect",

 4   and Derek SMITH, aka "Pup", being persons employed by and associated with the AB, which engaged

 5   in, and the activities of which affected, interstate and foreign commerce, together with others known and

 6   unknown, did knowingly, intentionally, and unlawfully combine, conspire, confederate, and agree to

 7   violate Title 18, United States Code, Section 1962(c), that is, to conduct and participate, directly and

 8   indirectly, in the conduct of the affairs of the AB through a pattern of racketeering activity, which is

 9   defined in Title 18, United States Code, Section 1961(1) and (5), which pattern ofracketeering activity

10   consisted of:

11                   a.      multiple acts involving murder in violation of California Penal Code §§ 189, 187,

12           182, 21a, 31,664, and 653f;

13                   b.      multiple acts involving extortion in violation of California Penal Code §§ 518,

14           182, 21a, 31, and 664;

15                   c.      multiple acts involving robbery in violation of California Penal Code§§ 211, 182,

16          21a, 31, and 664, Alabama Criminal Code§§ 13A-8-43, 13A-4-3, 13A-4-2, and 32-8-11, and

17           Oregon ORS§§ 164.415, 174.100, 161.450, and 659A.030(1)(g);

18                   d.      multiple acts indictable under 18 U.S.C. §§ 1028, 1029, 1341, and 1343;

19                   e.      multiple offenses involving drug trafficking in violation of 21 U.S.C. §§ 841,

20          843, and 846; and

21                   f.      multiple acts involving arson in violation of California Penal Code §§ 451, 452,

22           182, 21a, 31, and 664.

23           19.     It was part of the conspiracy, that each defendant agreed that a conspirator would commit

24   at least two acts ofracketeering activity, in the conduct of the affairs of the enterprise.

25          20.       During and in furtherance of the racketeering conspiracy, and to affect the object thereof,

26   defendants committed the following acts:

27   Ill

28   Ill


       SECOND SUPERSEDING INDICTMENT                       6
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 1                   a. Beginning no later than on or about October 1, 2020, and continuing to on or

 2                        about October 4, 2020, Kenneth JOHNSON, aka "K" aka "Kenwood", Francis

 3                        CLEMENT, aka "Frank", and Brandon BANNICK, aka "Barn" aka "Barn Barn",

 4                        together with others known and unknown, murdered V-1 and V-2.

 5                   b. Beginning no later than on or about October 1, 2020, and continuing to on or

 6                        about October 4, 2020,

 7                        Kenneth BASH, aka "Kenny" aka "Bash", together with others known and

 8                        unknown, conspired to murder V-3.

 9                   c. On or about August 12, 2015,

10                                        murdered V-5.

11                   d. Beginning no later than on or about May 1, 2020, and continuing to on or about

12                        June 1, 2020, Kenneth BASH, aka "Kenny" aka "Bash", Derek SMITH, aka

13                        "Pup", and others known and unknown, conspired to commit a Robbery ofV-6.

14                        During the course of the Robbery, V-6 was tied up and beaten.

15                   e. Beginning no later than on or about October 1, 2020, and continuing to on or

16                        about November 19, 2020, Kenneth JOHNSON, aka "K" aka "Kenwood", Francis

17                        CLEMENT, aka "Frank", and others known and unknown, conspired to commit a

18                        Robbery in Oregon.

19                   f.   Beginning no later than on or about September 1, 2020, and continuing to on or

20                        about September 20, 2020, Kenneth BASH, aka "Kenny" aka "Bash", Derek

21                        SMITH, aka "Pup", and others known and unknown, conspired to commit arson

22                        by setting fire to V -7' s property.

23                   g. Beginning no later than in or about April 2020, and continuing to in or about

24                        November 2020, Kenneth BASH, aka "Kenny" aka "Bash", together with others

25                        known and unknown, committed mail fraud and identity theft to obtain money

26                        from California Employment Development Department (EDD) and others.

27                   h. Beginning on a date unknown, but no later than on or about September 1, 2020,

28                        and continuing until on or about November 19, 2020, in the State and Eastern


     SECOND SUPERSEDING INDICTMENT                        7
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 1                          District of California, and elsewhere, Kenneth BASH, aka "Kenny" aka "Bash",

 2                          Derek SMITH, aka "Pup", and                                        knowingly

 3                          caused the distribution of methamphetamine and heroin to Salinas Valley State

 4                          Prison, various locations in the state of Montana, and various locations in the state

 5                          of California.

 6                     1.   Beginning no later than on or about December 1, 2019 and continuing to on or

 7                          about February 1, 2020, Kenneth BASH, aka "Kenny" aka "Bash", ordered the

 8                          stabbing of V -8, as punishment for violation of AB rules.

 9                     J.   Between in or about May 2022 and in or about July 2022, Francis CLEMENT,

10                          aka "Frank", attempted to distribute methamphetamine.

11                     k. On or about March 8, 2022, Francis CLEMENT, aka "Frank", Brandon

12                          BANNICK, aka "Barn" aka "Barn Barn", Evan PERKINS, aka "Soldier", and

13                          James FIELD, aka "Suspect", together with others known and unknown,

14                          murdered V-11 and V-12.

15                     1.   Beginning no later than on or about February 1, 2022, and continuing to on or

16                          about May 20, 2022, Evan PERKINS, aka "Soldier", together with others known

17                          and unknown, committed fraud in connection with identification documents and

18                          access devices.

19                     m. On or about January 24, 2016, Kenneth JOHNSON, aka "K" aka "Kenwood", and

20                          Francis CLEMENT, aka "Frank", ordered the murder ofV-13. V-13 was killed

21                          as a result.

22   Ill

23   Ill

24   Ill

25   Ill

26   Ill

27   Ill

28   Ill


       SECOND SUPERSEDING INDICTMENT                      8
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 1                                     Notice of Special Sentencing Factors

 2   Number 1: Murder of Victim- I

 3          On or about October 4, 2020, in the States and Eastern District of California, and elsewhere the

 4   defendants,

 5                                   KENNETH JOHNSON (aka "K" aka "Kenwood"),
                                        FRANCIS CLEMENT (aka "Frank"), and
 6                                  BRANDON BANNICK (aka "Barn" aka "Barn Barn"),
 7
     did unlawfully, willfully, and intentionally, and with deliberation and premeditation, kill Victim-I, with
 8
     malice aforethought, in violation of California Penal Code, Sections 31, 187 and 189.
 9

10
     Number 2: Murder ofVictim-2
11
            On or about October 4, 2020, in the States and Eastern District of California, and elsewhere the
12
     defendants,
13
                                      KENNETH JOHNSON (aka "K" aka "Kenwood"),
14                                       FRANCIS CLEMENT (aka "Frank"), and
                                     BRANDON BANNICK (aka "Barn" aka "Barn Barn"),
15

16   did unlawfully, willfully, and intentionally, and with deliberation and premeditation, kill Victim-2, with

17   malice aforethought, in violation of California Penal Code, Sections 31, 187 and 189.

18

19   Number 3: Conspiracy to Commit the Murder ofVictim-3

20          Beginning on a date unknown to the Grand Jury, but no later than on or about October 1, 2020,

21   and continuing to on or about October 4, 2020, in the State and Eastern District of California, and

22   elsewhere, the defendants,

23

24                                KENNETH BASH (aka "Kenny" aka "Bash"),
25   unlawfully, willfully, and intentionally conspired with each other and others known and unknown to the

26   Grand Jury, to kill Victim-3 with malice aforethought, in violation of California Penal Code, Sections

27   182, 187, and 189.

28


       SECOND SUPERSEDING INDICTMENT                      9
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 1 Number 4: Murder ofVictim-5

 2           On or about August 12, 2015, in the State and Eastern District of California, and elsewhere, the

 3   defendants,

 4

 5

 6   did unlawfully, willfully, and intentionally, and with deliberation and premeditation, kill Victim-5, with

 7   malice aforethought, in violation of California Penal Code, Sections 31, 187 and 189.

 8

 9   Number 5: Conspiracy to Commit the Murder of Victim-8

10           Beginning on a date unknown to the Grand Jury, but no later than on or about December 1, 2019,

11   and continuing to on or about February 1, 2020, in the State and Eastern District of California, and

12   elsewhere, the defendant,
                                  KENNETH BASH (aka "Kenny" aka "Bash"),
13

14   unlawfully, willfully, and intentionally conspired with others known and unknown to the Grand Jury to

15   kill Victim-8 with malice aforethought, in violation of California Penal Code, Sections 182, 187, and

16   189.

17

18     umber 6: Conspiracy to distribute and possess with intent to distribute methamphetamine and heroin

19           Beginning on a date unknown to the Grand Jury, but no later than on or about September 1,

20   2020, and continuing through at least on or about November 19, 2020, in the State and Eastern District

21   of California, and elsewhere, defendants,

22                               KENNETH BASH (aka "Kenny" aka "Bash"), and
                                       DEREK SMITH (aka "Pup"),
23

24   did conspire with each other, and with others known and unknown to the Grand Jury, to knowingly and

25   intentionally distribute and possess with intent to distribute at least 50 grams of methamphetamine

26   (actual), and 500 grams or more of a mixture or substance containing methamphetamine, a Schedule II

27   Controlled Substance, in violation of Title 21, United States Code, Sections 846 and 841(a)(l),

28   (b)(1 )(A).


       SECOND SUPERSEDING INDICTMENT
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 1

 2   Number 7: Murder ofVictim-11

 3          On or about March 8, 2022, in the State and Eastern District of California, and elsewhere the

 4   defendants,

 5                                        FRANCIS CLEMENT (aka "Frank"),
                                     BRANDON BANNICK (aka "Barn" aka "Barn Barn"),
 6                                        EVAN PERKINS (aka "Soldier"), and
                                            JAMES FIELD (aka "Suspect"),
 7
 8   did unlawfully, willfully, and intentionally, and with deliberation and premeditation, kill Victim-11,

 9   with malice aforethought, in violation of California Penal Code, Sections 31, 187 and 189.



11   Number 8: Murder ofVictim-12

12          On or about March 8, 2022, in the State and Eastern District of California, and elsewhere the

13   defendants,

14                                        FRANCIS CLEMENT (aka "Frank"),
                                     BRANDON BANNICK (aka "Barn" aka "Barn Barn"),
15                                        EVAN PERKINS (aka "Soldier"), and
                                            JAMES FIELD (aka "Suspect"),
16

17   did unlawfully, willfully, and intentionally, and with deliberation and premeditation, kill Victim- I 2,

18   with malice aforethought, in violation of California Penal Code, Sections 31, 187 and 189.

19

20   Number 9: Murder ofVictim-13

21          On or about January 24, 2016, in the State and Eastern District of California, and elsewhere the

22   defendants,

23                                   KENNETH JOHNSON (aka "K" aka "Kenwood"), and
                                          FRANCIS CLEMENT (aka "Frank"),
24

25   did unlawfully, willfully, and intentionally, and with deliberation and premeditation, kill Victim-13,

26   with malice aforethought, in violation of California Penal Code, Sections 31, 187 and 189.

27

28          All in violation of Title 18, United States Code, Section 1962(d).


      SECOND SUPERSEDING INDICTMENT                       11
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 1

 2   COUNT TWO: 18 U.S.C. § 1959(a)(l) -Murder in Aid of Racketeering
 3          The Grand Jury further charges:
 4                              KENNETH JOHNSON (aka "K" aka "Kenwood"),
                                      FRANCIS CLEMENT (aka "Frank"),
 5                              BRANDON BANNICK (aka "Barn Barn" aka "Barn"), and
                                        JUSTIN GRAY (aka "Sidetrack"),
 6

 7   defendants herein, as follows:
 8          1.      Paragraphs 1 through 16 of this Second Superseding Indictment are incorporated herein.

 9          2.      The AB enterprise, through its members and associates, engaged in racketeering activity

10   as defined in 18 U.S.C. Sections 1959(b)(l) and 1961(1), that is, acts involving murder, extortion, and

11   arson in violation of the California Penal Code, acts involving robbery in violation of the California

12   Penal Code, the Alabama Criminal Code, and the Oregon Revised Statute, multiple acts indictable under

13   18 U.S.C. §§ 1028, 1341, and 1343, and multiple offenses involving drug trafficking in violation of 21

14   U.S.C. §§ 841, 843, and 846.

15          3.      On or about October 4, 2020, in the counties of Kern and Los Angeles, State and Eastern

16   District of California and elsewhere, KENNETH JOHNSON, aka "K" aka "Kenwood", FRANCIS

17   CLEMENT, aka "Frank", BRANDON BANNICK, aka "Barn Barn" aka "Barn", and JUSTIN GRAY,

18   aka "Sidetrack", together with others known and unknown to the Grand Jury, for the purpose of gaining

19   entrance to and maintaining and increasing position in the AB, an enterprise engaged in racketeering

20   activity, while aiding and abetting one another, did murder Victim- I, in violation of California Penal

21   Code§§ 31, 187 and 189.

22          All in violation of 18 U.S.C. §§ 1959(a)(l) and 2.

23   Ill

24   Ill

25   Ill

26   Ill

27   Ill

28   Ill


       SECOND SUPERSEDING INDICTMENT                     12
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 1 COUNT THREE: 18 U.S.C. § 1959(a)(l)-Murder in Aid of Racketeering

 2          The Grand Jury further charges:
 3                              KENNETH JOHNSON (aka "K" aka "Kenwood"),
                                      FRANCIS CLEMENT (aka "Frank"),
 4                              BRANDON BANNICK (aka "Barn Barn" aka "Barn"), and
                                        filSTIN GRAY (aka "Sidetrack"),
 5

 6   defendants herein, as follows:
 7          1.      Paragraphs 1 through 16, and paragraph 2 of Count 2, of this Second Superseding

 8   Indictment are incorporated herein.

 9          2.      On or about October 4, 2020, in the counties of Kem and Los Angeles, State and Eastern

10   District of California and elsewhere, KENNETH JOHNSON, aka "K" aka "Kenwood", FRANCIS

11   CLEMENT, aka "Frank", BRANDON BANNICK, aka "Barn Barn" aka "Barn", and ruSTIN GRAY,

12   aka "Sidetrack", together with others known and unknown to the Grand Jury, for the purpose of gaining

13   entrance to and maintaining and increasing position in the AB, an enterprise engaged in racketeering

14   activity, while aiding and abetting one another, did murder Victim-2, in violation of California Penal

15   Code§§ 31, 187 and 189.

16          All in violation of 18 U.S.C. §§ 1959(a)(l) and 2.

17                                          NOTICE OF SPECIAL FINDINGS

18          The allegations of Count Two and Three of this Second Superseding Indictment are hereby re-

19   alleged and incorporated by reference as if fully set forth herein.

20          Defendant JUSTIN GRAY:

21          1.      Was 18 years of age or older at the time of the offense (18 U.S.C. §3591(a));

22          2.      Intentionally killed Victim-I and Victim-2 (18 U.S .C. § 359l(a)(2)(A));

23          3.      Intentionally participated in an act, contemplating that the life of a person would be taken

24   or intending that lethal force would be used in connection with a person, other than a participant in the

25   offense, and Victim-I and Victim-2 died as a direct result of the act (18 U.S.C. § 3591(a)(2)(C));

26          4.      Committed the offense after substantial planning and premeditation to cause the death of

27   Victim-I (18 U.S.C. § 3592(c)(9)); and,

28


       SECOND SUPERSEDING INDICTMENT
                                                          13
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 1          5.       Intentionally killed more than one person in a single criminal episode (18 U.S.C. §

 2   3592(c)(l6));

 3

 4          Defendant FRANCIS CLEMENT:

 5          1.       Was 18 years of age or older at the time of the offense (18 U.S.C. §3591(a));

 6          2.       Intentionally participated in an act, contemplating that the life of a person would be taken

 7   or intending that lethal force would be used in connection with a person, other than a participant in the

 8   offense, and Victim-I and Victim-2 died as a direct result of the act (18 U.S.C. § 3591(a)(2)(C));

 9          3.       Committed the offense after sustaining a previous conviction for an offense resulting in

10   the death of a person, for which a sentence oflife imprisonment was authorized by statute (18 U.S.C. §

11   3592(c)(3)); and,

12          4.       Committed the offense after substantial planning and premeditation to cause the death of

13   Victim-I (18 U.S.C. § 3592(c)(9));

14

15          Defendant KENNETH JOHNSON:

16          1.       Was 18 years of age or older at the time of the offense (18 U.S.C. §3591(a));

17          2.       Intentionally participated in an act, contemplating that the life of a person would be taken

18   or intending that lethal force would be used in connection with a person, other than a participant in the

19   offense, and Victim-I and Victim-2 died as a direct result of the act (18 U.S.C. § 3591(a)(2)(C)); and,

20          3.       Committed the offense after substantial planning and premeditation to cause the death of

21   Victim-I (18 U.S.C. § 3592(c)(9));

22

23          Defendant BRANDON BANNICK:

24          1.       Was 18 years of age or older at the time of the offense (18 U.S.C. §3591(a));

25          2.       Intentionally participated in an act, contemplating that the life of a person would be taken

26   or intending that lethal force would be used in connection with a person, other than a participant in the

27   offense, and Victim-I and Victim-2 died as a direct result of the act (18 U.S.C. § 359l(a)(2)(C));

28


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 1          3.      Committed the offense after substantial planning and premeditation to cause the death of

 2   Victim-I (18 U.S.C. § 3592(c)(9)); and,

 3          4.      Committed the offense after having been previously convicted of two or more offenses

 4   punishable by a term of imprisonment of more than one year, committed on different occasions,

 5   involving the distribution of a controlled substance (18 U.S.C. § 3592(c)(l0)).

 6
     COUNT FOUR: 18 U.S.C. § 1959(a)(l)-Murder in Aid of Racketeering
 7

 8          The Grand Jury further charges:
 9                                    FRANCIS CLEMENT (aka "Frank"),
                                 BRANDON BANNICK (aka "Barn Barn" aka "Barn"),
10                                    JAMES FIELD (aka "Suspect"), and
                                       EVAN PERKINS (aka "Soldier"),
11

12   defendants herein, as follows:
13          1.      Paragraphs 1 through 16, and paragraph 2 of Count 2, of this Second Superseding

14   Indictment are incorporated herein.

15          2.      On or about March 8, 2022, in the counties of Kern and Los Angeles, State and Eastern

16   District of California and elsewhere, FRANCIS CLEMENT, aka "Frank", BRANDON BANNICK, aka

17   "Barn Barn" aka "Barn", JAMES FIELD, aka "Suspect", and EVAN PERKINS, aka "Soldier", together

18   with others known and unknown to the Grand Jury, for the purpose of gaining entrance to and

19   maintaining and increasing position in the AB, an enterprise engaged in racketeering activity, while

20   aiding and abetting one another, did murder Victim-I 1, in violation of California Penal Code §§ 31, 187

21   and 189.

22          All in violation of 18 U.S.C. §§ 1959(a)(l) and 2.

23   Ill

24   Ill

25   Ill

26   Ill

27   Ill
28


       SECOND SUPERSEDING INDICTMENT
                                                         15
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 1 COUNT FIVE: 18 U.S.C. § 1959(a)(l)-Murder in Aid of Racketeering

 2          The Grand Jury further charges:
 3                                     FRANCIS CLEMENT (aka "Frank"),
                                  BRANDON BANNICK (aka "Barn Barn" aka "Barn"),
 4                                     JAMES FIELD (aka "Suspect"), and
                                        EVAN PERKINS (aka "Soldier"),
 5

 6   defendants herein, as follows:
 7          1.      Paragraphs 1 through 16, and paragraph 2 of Count 2, of this Second Superseding

 8   Indictment are incorporated herein.

 9          2.      On or about March 8, 2022, in the counties of Kem and Los Angeles, State and Eastern

10   District of California and elsewhere, FRANCIS CLEMENT, aka "Frank", BRANDON BANNICK, aka

11   "Barn Barn" aka "Barn", JAMES FIELD, aka "Suspect", and EV AN PERKINS, aka "Soldier", together

12   with others known and unknown to the Grand Jury, for the purpose of gaining entrance to and

13   maintaining and increasing position in the AB, an enterprise engaged in racketeering activity, while

14   aiding and abetting one another, did murder Victim-12, in violation of California Penal Code§§ 31, 187

15   and 189.

16          All in violation of 18 U.S.C. §§ 1959(a)(l) and 2.

17

18                                          NOTICE OF SPECIAL FINDINGS

19          The allegations of Count Five and Six of this Second Superseding Indictment are hereby re-

20   alleged and incorporated by reference as if fully set forth herein.

21          Defendant BRANDON BANNICK:

22          1.      Was 18 years of age or older at the time of the offense (18 U.S.C. §3591(a));

23          2.      Intentionally killed Victim-I I and Victim-12 (18 U.S.C. § 3591(a)(2)(A));

24          3.      Intentionally participated in an act, contemplating that the life of a person would be taken

25   or intending that lethal force would be used in connection with a person, other than a participant in the

26   offense, and Victim-I I and Victim-12 died as a direct result of the act (18 U.S.C. § 3591(a)(2)(C));

27          4.      Committed the offense after substantial planning and premeditation to cause the death of

28   Victim-11 (18 U.S.C. § 3592(c)(9));


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 1          5.       Intentionally killed more than one person in a single criminal episode (18 U.S.C. §

 2   3592(c)(16)); and,

 3          4.       Committed the offense after having been previously convicted of two or more offenses

 4   involving the distribution of a controlled substance (18 U.S.C. § 3592(c)(l0));

 5

 6          Defendant JAMES FIELD:

 7          1.       Was 18 years of age or older at the time of the offense (18 U.S.C. §3591(a));

 8          2.       Intentionally killed Victim-I I and Victim-12 (18 U.S.C. § 3591(a)(2)(A));

 9          3.       Intentionally participated in an act, contemplating that the life of a person would be taken

10   or intending that lethal force would be used in connection with a person, other than a participant in the

11   offense, and Victim-11 and Victim-12 died as a direct result of the act (18 U.S.C. § 359l(a)(2)(C));

12          4.       Committed the offense after substantial planning and premeditation to cause the death of

13   Victim-I I (18 U.S.C. § 3592(c)(9)); and,

14          5.       Intentionally killed more than one person in a single criminal episode (18 U.S.C. §

15   3592(c)(l6));

16

17          Defendant EVAN PERKINS:

18          1.       Was 18 years of age or older at the time of the offense (18 U.S.C. §3591(a));

19          3.       Intentionally participated in an act, contemplating that the life of a person would be taken

20   or intending that lethal force would be used in connection with a person, other than a participant in the

21   offense, and Victim-I I and Victim-12 died as a direct result of the act (18 U.S.C. § 3591(a)(2)(C));

22          4.       Committed the offense after substantial planning and premeditation to cause the death of

23   Victim-I I (18 U.S.C. § 3592(c)(9)); and,

24          5.       Intentionally killed more than one person in a single criminal episode (18 U.S.C. §

25   3592(c)(16));

26

27          Defendant FRANCIS CLEMENT:

28          1.       Was 18 years of age or older at the time of the offense (18 U.S.C. §3591(a));


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 1          2.       Intentionally participated in an act, contemplating that the life of a person would be taken

 2   or intending that lethal force would be used in connection with a person, other than a participant in the

 3   offense, and Victim-11 and Victim-12 died as a direct result of the act (18 U.S.C. § 3591(a)(2)(C));

 4          3.       Committed the offense after sustaining a previous conviction for an offense resulting in

 5   the death of a person, for which a sentence of life imprisonment was authorized by statute (18 U.S.C. §

 6   3592(c)(3)); and,

 7          4.       Committed the offense after substantial planning and premeditation to cause the death of

 8   Victim-11 (18 U.S.C. § 3592(c)(9)).

 9

1o COUNT SIX: 18 U.S.C. § 1959(a)(5) - Conspiracy to Commit Murder in Aid of Racketeering

11          The Grand Jury further charges:

12

13
14   defendants herein, as follows:
15          1.       Paragraphs 1 through 16, and paragraph 2 of Count 2 of this Second Superseding

16   Indictment are incorporated herein.

17          2.       Beginning no later than on or about October 1, 2020, and continuing through on or about

18   October 4, 2020, in the counties of Kings and San Joaquin, State and Eastern District of California and

19   elsewhere,                                                                   and KENNETH BASH, aka

20   "Kenny" aka "Bash", together with others known and unknown to the Grand Jury, for the purpose of

21   gaining entrance to and maintaining and increasing position in the AB, an enterprise engaged in

22   racketeering activity, did conspire to murder Victim-3, in violation of California Penal Code§§ 187,

23   189, and 182.

24          All in violation of 18 U.S.C. § 1959(a)(5).

25   Ill

26   Ill

27 Ill

28


       SECOND SUPERSEDfNG INDICTMENT                      18
--   --- - - -- - - - - - - - - - - - -- - - -

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        1   COUNT SEVEN: 21 U.S.C. §§ 846, 84l(a)(l) & (b)(l)(A), (b)(l)(B)- Conspiracy to Distribute and to
            Possess with Intent to Distribute Methamphetamine and Heroin
        2
                   The Grand Jury further charges: THAT
        3
                                                       KENNETH BASH,
        4                                             DEREK SMITH, and
                                                     SAMANTHA BOOTH,
        5

        6   defendants herein, between on or about September I, 2020, and continuing through on or about

        7   November 19, 2020, in the County of Fresno, State and Eastern District of California, and elsewhere,

        8   did knowingly and intentionally conspire and agree with each other and with persons known and

        9   unknown to the Grand Jury to distribute and to possess with intent to distribute at least 50 grams of

       10   methamphetamine (actual), and 500 grams or more of a mixture or substance containing

       11   methamphetamine, a Schedule II Controlled Substance, and at least I 00 grams or more of a mixture or

       12   substance containing heroin, a Schedule I Controlled Substance, in violation of Title 21, United States

       13   Code, Sections 846 and 84l(a)(l) & (b)(l)(A), (b)(l)(B).

       14

       15   COUNT EIGHT: 21 U.S.C. § 841(a)(l) & (b)(l)(A)- Possession with Intent to Distribute
                      Methamphetamine
       16
                   The Grand Jury further charges: THAT
       17
                                                     SAMANTHA BOOTH,
       18
       19   defendant herein, on or about September 22, 2020, in the County of Fresno, State and Eastern District of

       20   California, did knowingly and intentionally possess with intent to distribute at least 50 grams of

       21   methamphetamine (actual), and 500 grams or more of a mixture or substance containing

       22   methamphetamine, a Schedule II Controlled Substance, in violation of Title 21, United States Code,

       23   Section 841(a)(l) & (b)(l)(A).

       24
            Ill
       25

       26   Ill

       27
            Ill
       28


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 1   COUNT NINE: 21 U.S.C. § 841(a)(l) & (b)(l)(A)- Possession with Intent to Distribute
               Methamphetamine
 2
            The Grand Jury further charges: THAT
 3
                                                 DEREK SMITH,
 4
 5   defendant herein, on or about September 24, 2020, in the County of Fresno, State and Eastern District of

 6   California, did knowingly and intentionally possess with intent to distribute at least 50 grams of

 7   methamphetamine (actual), and 500 grams or more of a mixture or substance containing

 8   methamphetamine, a Schedule II Controlled Substance, in violation of Title 21, United States Code,

 9   Section 84l(a)(l) & (b)(l)(A).

10
11   COUNT TEN: 21 U.S.C. § 841(a)(l) & (b)(l)(B)-Possession with Intent to Distribute Heroin

12          The Grand Jury further charges: THAT

13                                               DEREK SMITH,
14   defendant herein, on or about September 24, 2020, in the County of Fresno, State and Eastern District of

15   California, did knowingly and intentionally possess with intent to distribute 100 grams or more of a

16   mixture or substance containing heroin, a Schedule I Controlled Substance, in violation of Title 21,

17   United States Code, Sections 846 and 841(a)(l) & (b)(l)(B).

18

19
     COUNT ELEVEN: 18 U.S.C. § 924(c)(l)(A)- Using and Carrying a Firearm During and in Relation to
20             a Drug Trafficking Offense
21          The Grand Jury further charges: THAT

22                                               DEREK SMITH,
23
     defendant herein, on or about September 24, 2020, in the County of Fresno, State and Eastern District of
24
     California, did knowingly use and carry and possess a firearm, specifically, a Glock 26 9mm handgun,
25
     serial number DSB569, during and in relation to, and in furtherance of, a drug trafficking crime for
26
     which he may be prosecuted in a court of the United States, specifically, possession with intent to
27
     distribute methamphetamine and possession with intent to distribute heroin, in violation of Title 21,
28


      SECOND SUPERSEDING INDICTMENT
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 1 United States Code, Section 841, as alleged in Counts Ten and Eleven of the Second Superseding

 2   Indictment, all in violation of Title 18, United States Code, Section 924(c)( 1)(A).

 3

 4   COUNT TWELVE: 18 U.S.C. § 922(g)(l)- Felon in Possession of Firearm

 5          The Grand Jury further charges: THAT

 6                                                DEREK SMITH,

 7   defendant herein, on or about September 24, 2020, in the County of Fresno, State and Eastern District of

 8   California, knowing that he had been convicted of a crime punishable by a term of imprisonment

 9   exceeding one year, that is:

10          ( 1) 2005 felony conviction for Possession of Stolen Property, in violation of California Penal
                 Code section 496;
11
            (2) 2015 felony conviction for Identity Theft, in violation of California Penal Code section
12              530.5; and,
13          (3) 2018 felony conviction for Taking a Vehicle without Consent, in violation of California
                Vehicle Code section 10851,
14
     did knowingly possess a firearm, specifically, a Glock 26 9mm handgun, serial number DSB569, in and
15
     affecting commerce, in that said firearm had previously been transported in interstate and foreign
16
     commerce, in violation of Title 18, United States Code, Section 922(g)( 1).
17

18

19   COUNT THIRTEEN: 21 U.S.C. § 841(a)(l) & (b)(l)(A)- Possession with Intent to Distribute
         Metharnphetamine
20
            The Grand Jury further charges: THAT
21
                                              SAMANTHA BOOTH,
22

23   defendant herein, on or about September 29, 2020, in the County of Fresno, State and Eastern District of

24   California, did knowingly and intentionally possess with intent to distribute at least 50 grams of

25   methamphetarnine (actual), a Schedule II Controlled Substance, in violation of Title 21, United States

26   Code, Section 841(a)(l) & (b)(l)(A).

27

28


      SECOND SUPERSEDING INDICTMENT                      21
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 1 COUNT FOURTEEN: 21 U.S.C. § 841(a)(l)-Distribution ofMethamphetamine

 2          The Grand Jury further charges: THAT

 3                                             SAMANTHA BOOTH,
 4   defendant herein, on or about and between September 22, 2020, and September 28, 2020, in the County

 5   of Fresno, State and Eastern District of California, did knowingly and intentionally distribute at least 50

 6   grams of methamphetamine (actual), a Schedule II Controlled Substance, in violation of Title 21, United

 7 States Code, Section 841(a)(l) & (b)(l)(A).

 8

 9
     FORFEITURE ALLEGATION: 18 U.S .C. §§ 1963(a)(l), 1963(a)(2), 1963(a)(3), 21 U.S.C. § 853(a),
10                          18 U.S.C. § 924(d)(l), and 28 U.S.C. § 2461(c)- Criminal Forfeiture

11
            1.      Upon conviction of the offenses alleged in Count One of this Second Superseding
12
     Indictment, defendants KENNETH JOHNSON, FRANCIS CLEMENT,
13
                                  KENNETH BASH, JAMES FIELD, BRANDON BANNICK, EV AN
14
     PERKINS, and .DEREK SMITH shall forfeit to the United States pursuant to Title 18, United States
15
     Code, Sections 1963(a)(l ), 1963(a)(2), and 1963(a)(3), any interest, security of, claim against, or
16
     property or contractual right of any kind in any enterprise established, operated, controlled, conducted,
17
     or participated in the conduct of, a violation of such offense; and, any property constituting, or derived
18
     from, any proceed which defendants obtained, directly or indirectly, from racketeering activity in
19
     violation of such offense.
20
            2.      Upon conviction of one or more of the offenses alleged in Counts Eight through Ten,
21
     Thirteen, and Fourteen of this Second Superseding Indictment, defendants KENNETH BASH, DEREK
22
     SMITH, AND SAMANTHA BOOTH shall forfeit to the United States pursuant to Title 21, United
23
     States Code, Section 853(a), the following property:
24
                    a.      All right, title, and interest in any and all property involved in violations of Title
25
     21, United States Code, Section 841 (a)(l ), or conspiracy to commit such offenses, for which defendants
26
     are convicted, and all property traceable to such property, including the following: all real or personal
27
     property, which constitutes or is derived from proceeds obtained, directly or indirectly, as a result of
28


       SECOND SUPERSEDING INDICTMENT
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 1 such offenses; and all property used, or intended to be used, in any manner or part to commit or to

 2   facilitate the commission of the offenses.

 3                  b.      A sum of money equal to the total amount of proceeds obtained as a result of the

 4   offenses, or conspiracy to commit such offenses, for which defendants are convicted.

 5          3.      Upon conviction of the offenses alleged in Counts Eleven and Twelve, of this Second

 6   Superseding Indictment, defendant DEREK SMITH, shall forfeit to the United States pursuant to Title

 7   18, United States Code, Section 924(d)(l) and Title 28, United States Code, Section 2461 (c), any

 8   firearms and ammunition involved in or used in the knowing commission of the offenses.

 9          4.      If any property subject to forfeiture, as a result of the offenses alleged in Counts One

10   through Fourteen of this Second Superseding Indictment, for which defendants are convicted:

11                  a.      cannot be located upon the exercise of due diligence;

12                  b.      has been transferred or sold to, or deposited with, a third party;

13                  C.      has been placed beyond the jurisdiction of the Court;

14                  d.      has been substantially diminished in value; or

15                  e.      has been commingled with other property which cannot be divided without

16                  difficulty;

17   it is the intent of the United States, pursuant to Title 18, United States Code, Section 1963(m), Title 21,

18   United States Code, Section 853(p) and Title 28, United States Code, Section 2461(c), to seek forfeiture

19   of any other property of defendants, up to the value of the property subject to forfeiture.

20
                                                                   A TRUE BILL.
21                                                                        /s/ Signature on file w/AIJSA
22                                                                 FOREPERSON

23   PHILLIP A. TALBERT
     United States Attorney
24

25   B     KIRK E. SHERRIFF
     ='""'-------------
     KIRK E. H RRJFF
26   Assistant U.S. Attorney
     Chief, Fresno Office
27

28


      SECOND SUPERSEDING INDICTMENT
                                                          23
